Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 1 of 17 PageID #: 16554




                            Exhibit G
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 2 of 17 PageID #: 16555


     CNA Sony Computer Entertainment America
     December 02, 2009

                                                                            1
 1                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
 2                              TYLER DIVISION
 3      MARVELL SEMICONDUCTOR,
        INC. MARVELL ASIA PTE,
 4      LTD., AND MARVELL INTL.,
        LTD.
 5
        VB.                                CASE NO. 6-07-CV-204-LED
 6
        COMMONWEALTH SCIENTIFIC
 7      AND INDUSTRIAL RESEARCH
        ORGANISATION
 8

 9

10

11

12                      CERTIFICATE OF NON-APPEARANCE
13               SONY COMPUTER ENTERTAINMENT AMERICA, INC.
14                               DECEMBER 2, 2009
15

16                                 ORIGINAL
17

18

19

20
21

22

23

24
25
               Gretchen Shore Court Reporting & Litigation Support
          903-758-2183 * 903-758-4890 * gretchenshore@gretchenshore.com
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 3 of 17 PageID #: 16556

     CNA Sony Computer Entertainment America
     December 02, 2009

                                                                            2
 1                    CERTIFICATE OF NONAPPEARANCE
 2                        FOR THE DEPOSITION OF

 3            SONY COMPUTER ENTERTAINMENT AMERICA, INC.
 4                      MR. RAMBIN:     This is Jeff Rambin.         I'm
 5 counsel for Commonwealth Scientific and Industrial
 6 Research Organisation.
 7                      We're here this morning pursuant to a
 8 deposition notice for 30(B) (6)          representative of Sony
 9 Computer Entertainment America, Inc.
10                      The deposition was originally scheduled
11 to take place on November 30th, 2009, at 9:00 a.m.                   I
12 am attaching as Exhibit No. 1 to this deposition the
13 deposition notice,        including all the exhibits thereto.
14                      Pursuant to a telephone call and a letter
15 agreement with attorney for Sony Computer Entertainment
16 America, the deposition was rescheduled for today,
17 December 2nd, 2009.
18                      We are here in our offices where the
19 deposition was noticed to take place.               It is now 9:20 or
20 thereabouts and no one from Sony Computer Entertainment
21 America has appeared.
22                      I will state for the record that I did
23 get a call from counsel for Sony Computer Entertainment
24 America, Inc., last night at around 6:00 o'clock Central
25 time, 4:00 o'clock Pacific time.             I was on another
               Gretchen Shore Court Reporting & Litigation Support
          903-758-2183 * 903-758-4890 * gretchenshore@gretchenshore.com
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 4 of 17 PageID #: 16557


     CNA Sony Computer Entertainment America
     December 02, 2009

                                                                            3
 1 conference call.        I returned the call, left a message
 2 with both my office number and the cell number, and I
 3 have not heard anything back from counsel for Sony
 4 Computer Entertainment America.
 5                      I attach as Exhibit No. 2 to this
 6 deposition the November 24th, 2009, letter from Sony
 7 Computer Entertainment America, Inc., acknowledging
 8 receipt of the subpoena and documenting the extension

 9 until December 2nd,        2009.
10                      SUBSCRIBED AND SWORN TO UNDER MY HAND on
11   this the 2nd day of December, 2009.
12



                                      Tk\~::;-~~~
13

14
                                               CSR~101
                                                                   RPR
15                                    Texas
                                      Expiration:  12/31/08
16                                    GRETCHEN SHORE COURT REPORTING
                                      AND LITIGATION SUPPORT
17                                    FIRM REGISTRATION 90
                                      P. O. BOX 1789
18                                    LONGVIEW, TEXAS 75606
                                      (903) 758-2183
19
20
21
22
23
24
25
               Gretchen Shore Court Reporting & Litigation Support
          903-758-2183 * 903-758-4890 * gretchenshore@gretchenshore.com
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 5 of 17 PageID #: 16558




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

                                     §
   MARVELL SEMICONDUCTOR, INC.       §
                                     §
   MARVELL ASIA PTE., LTD., and MAYELL
   INTL.,LTD,                        §
                                     §
                  Plaintiffs and     §                        Civil Action No. 6-07-CV-204 LED
                  Counterdefendants, §
                                     §                        Jury Trial Demanded
             v.                      §
                                     §
   COMMONWEALTII SClENTIFIC AND      §
   INDUSTRIAL RESEARCH ORGANISATION, §
                                     §
                  Defendant and      §
                  Counterclaimant.   §


         COMMONWEALTH SCIENTIFIC AND INDUSTRIAL RESEARCH
    ORGANISATION'S NOTICE OF INTENT TO DEPOSE A REPRESENTATIVE FOR
       SONY COMPUTER ENTERTAINMENT AMERICA, INC. PURSUANT TO
                        FED. R. CIV. PRO. 30CB)(6)

          PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) oftbe Federal Rules of Civil

   Procedure, Plaintiff Co=onwealth Scientific and Industrial Research Organisation will take the

   deposition upon oral examination of Sony Computer Entertainment America, Inc., 919 E ..

   Hillsdale Boulevar<L Suite 200, Foster City, CA 94404-2176, co=encing on Monday,

  November 30, 2009, at 9:00 am. Sony Computer Entertainment America, Inc. can be served

  through its registered agent for service of process Corporation Service Company d/b/a CSC-

   Lawyers Inco, 211 E. 7th Street, Suite 620, Austin, Texas 78701. The deposition will be

   conducted at the offices of Capshaw DeRieux LLP at 1127 Judson Roa<L Suite 200, Longview,

   Texas 75601, or othe! such place as agreed upon by the parties. Sony Computer Entertainment

   America, Inc. is directed to designate and produce one or more of its officers, directors,

   managing agents, or other designated persons to testify on its behalf as to the information known



                                                                     EXHIBIT        I
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 6 of 17 PageID #: 16559




  or reasonably available to Sony Computer Entertainment America, Inc. concerning the matters

  set forth in ATTACHMENT A.

         This is an independent Rule 30(b)(6) notice that does not supersede, modifY, or affect in

  any manner other Rule 3 O(b)(6) notices that have been served during this litigation.

         The deposition will be recorded stenographically before a notary Public or other officer

  authorized to administer oaths, and shall continue day-to-day, excluding weekends and holidays,

  until completed.



  DATED: November 23,2009               Respectfully submitted,



                                        By: lsi S. Calvin Capshaw
                                             S. Calvin Capshaw
                                             State Bar No. 03783900
                                             ccapshaw@capshawlaw.com
                                             Elizabeth L. DeRieux
                                             State Bar No. 05770585
                                             ederieux@capshawlaw.com
                                             D. Jeffrey Rambin
                                             State Bar No. 00791478
                                            jrambin@capshawlaw.com
                                             Capshaw DeRieux, L.L.P.
                                             1127 Judson Road, Suite 220
                                             Longview, Texas 75601
                                             Telephone: (903) 236-9800
                                             Facsimile: (903) 236-8787

                                            Attorneys for Defendant,
                                            COMMONWEALTH SCIENTlFIC AND
                                            INDUSTRIAL RESEARCH ORGANISATION
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 7 of 17 PageID #: 16560




                                   CERTIFICATE OF SERVICE

           I hereby certifY that counsel of record who are deemed to have consented to electronic
   service are being served the 23rd day November, 2009, with a copy of this document via the
   Court's CMlECF system per Local Rule CV-5(a)(3), or to the extent not available in that
   manner, counsel of record will be served by electronic mail, facsimile transmission and/or first
   class mail on this same date.

                                                        /s/ S. Calvin Capshaw
                                                        S. Calvin Capshaw
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 8 of 17 PageID #: 16561




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                     §
  MARVELL SEMICONDUCTOR, INC.                        §
  MARVELL ASIA PTE., LTD., and MARVELL               §
  INTL., LTD,                                        §
                                                     §
                        Plaintiffs and               §
                        Counterdefendants,           §      Civil Action No. 6-07-CV-204 LED
                                                     §
                v.                                   §      Jury Trial Demanded
                                                     §
  COMMONWEALTH SCIENTIFIC AND                        §
  INDUSTRIAL RESEARCH ORGANISATION,                  §
                                                     §
                        Defendant and                §
                        Counterclaimant.             §


                                        ATTACHMENT A


                                             Definitions

        . The following terms and definitions shall apply to this Notice:

     1) "And" as used herein shall mean and!or;

     2) "Identification," "identify," or "identify," when used with reference to:

            a. An individual person means to state his or her full name, present or last known

                employer, job title, present or last known residential address and telephone

                number, and present or last known business address and telephone number;

            b. A business entity means to state the full name and address of the entity and the

                names and positions of the individual or individuals connected with such entity

                who have knowledge of the information requested; and

            c. A document means to state the type of document (letter, report, fact sheet, etc.);

                its date, author(s) or originator(s), addressees; all individuals who received copies

                of the document; the identity of the persons known or presumed by you to have
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 9 of 17 PageID #: 16562




                present possession, custody, or controliliereof; and a brief description ofilie

                subj ect matter and present location;

     3) "Person" or "people" shall refer to any natural person, firm association, partnership,

        corporation, group, organization, or oilier form oflega! business entity.

     4) "You" or "your" means Sony Computer Entertainment America, Inc. and includes any

        officers, directors, partners, associates, employees, staff members, agents,

        representatives, attorneys, foreign or domestic subsidiaries, parents, affiliates, divisions,

        successors, predecessors, and any oilier related entities, and specifically includes all

        assets or companies that have been acquired by Defendant or wiili respect to which it has

        succeeded to rights and/or obligations.
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 10 of 17 PageID #: 16563




              Sony Computer Entertainment America. Inc. 30(b)(6) Deposition Topics

  L      The documents, records, reports, and things contained in ATTACHMENT B and
         videos contained in ATTACHMENT C, (collectively referred to as "Material at
         Issue") including:

         A. The identification of the Material at Issue;
         B. Confirmation or denial that the Material at Issue is or was publicly available on your
            website;
         C. Confirmation or denial that Material at Issue was placed on the web by you;
         D. Confirmation or denial that the originals of the Material at Issue are within your
            "possession, custody or control" under Fed.RCiv.P. 26(a)(I)(A)(ii);
         E. Confumation or denial that the Material at Issue was made in the regular course of
            your business;
         F. Confirmation or denial that the Material at Issue was kept in the regular course of
            your business;
         G. Confirmation or denial that the Material at Issue was made at or near the time of the
            occurrence of the matters set forth by, or from information transmitted by, a person
            with knowledge of those matters;
         H. Confirmation or denial that the entries on or contained in the Material at Issue were
            made at or near the time of the act, event, statement, information, or transaction
            recorded or reflected in the Material at Issue;
         L Confirmation or denial that it was in the regular course of your business for a person
            with knowledge of the acts, events, statements, conditions, or opinions recorded or
            reflected in or on the Material at Issue to make or record or transmit the information
            to be included in the Material at Issue; and

         J. Discussion, exploration, explanation, or investigation of the items above if the
            answers are anything other than a whole and unqualified confirmation, and to the
             extent that such answers are required, the documents, reports, videos, and other
             materials will be referred to separately as needed.


   II.   Confirm the identity of the following corporate officers:

         A. Howard Stringer;
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 11 of 17 PageID #: 16564




         B. Ryoji Chubachi; and
         C. Kazuo Hirai..


  ill.   Confinn statements attributed to you in the article(s) in ATTACHMENT D.
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 12 of 17 PageID #: 16565




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                              §
   MARVELL SEMICONDUCTOR, INC.                §
   MARVELL ASIA PTE., LTD., and MARVELL       §
   INTL., LTD,                                §
                                              §
                     Plaintiffs and           §
                     Counterdefendants,       §     Civil Action No. 6-07-CV -204 LED
                                              §
               v.                             §     Jury Trial Demanded
                                              §
   CUMMONWEALTH SCIENTIFIC AND                §
   INDUSTRIAL RESEARCH ORGANISATION,          §
                                              §
                     Defendant and            §
                     Counterc1aimant.         §


                                   ATTACHMENT B




                    See documents contained on CD which is attached.
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 13 of 17 PageID #: 16566




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                               §
   MARVELL SEMICONDUCTOR, INC.                 §
   MARVELL ASIA PTE., LTD., and MARVELL        §
   INTL., LTD,                                 §
                                               §
                     Plaintiffs and            §
                     Counterdefendants,        §      Civil Action No. 6-07-CV-204 LED
                                               §
               v.                              §      Jury Trial Demanded
                                               §
   COMMONWEALTII SCIENTIFIC AND                §
   lNDUSTRIAL RESEARCH ORGANISATION,           §
                                               §
                     Defendant and             §
                     Counterclaimant.          §


                                   ATTACHMENT C




                      See video(s) contained on CD which is attached.
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 14 of 17 PageID #: 16567




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                               §
   MARVELL SEMICONDUCTOR, INC.                 §
   MARVELL ASIA PTE., LTD., and MARVELL        §
   INTL., LTD,                                 §
                                               §
                     Plaintiffs and            §
                     Counterdefendants,        §      Civil Action No. 6-07-CV-204 LED
                                               §
               ~                               §      Jury Trial Demanded
                                               §
   COMMONWEALTH SCIENTIFIC AND                 §
   INDUSTRIAL RESEARCH ORGANISATION,           §
                                               §
                     Defendant and             §
                     Counterclaimant.          §


                                   ATTACHMENT D




                     See article(s) contained on CD which is attached.
Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 15 of 17 PageID #: 16568
   Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 16 of 17 PageID #: 16569
SONY                 Sony Computer EntertainmentAmerica Inc.
                     919 East Hillsdale Blvd.
                     Foster City, California 94404-2175
                     6506558000
                     650 655 8001 Fax




COMPUTER
ENTERTAINMENT®




            VIAFEDEX


            November 24, 2009


            D. Jeffrey Rambin
            Capshaw, DeRieux, L.L.P.
            1127 Judson Road, Suite 220
            Longview, TX 75061



                   Re:       Marvel Semicinductor, Inc., et al v. Commonwealth Scientific and
                             Industrial Research Organisation, Civil Action No. 6-07-CV-204 LED

            Dear Mr. Rambin,

            This letter confirms our telephone conversation earlier today, wherein you granted Sony
            Computer Entertairunent America Inc. ("SCEA") an extension of time until December 2,
            2009, to respond to the subpoena in the above-referenced action. Notwithstanding the
            extension of time, and as I mentioned during our telephone conversation, SCEA objects
            to the subpoena on the grounds that the amount of notice provided is unreasonable,
            especially in light of the intervening Thanksgiving holidays. Furthermore, as I also
            mentioned to you today, we have not yet received the CD attachments referred to in the
            subpoena, and SCEA reserves all further grounds for objection.


            Very truly yours,


             1~
            Dauiel J. Herp
            Sony Computer Entertairunent America Inc.




                                                                                      EXHIBIT.;;>l
            Case 6:07-cv-00204-LED Document 291-8 Filed 03/15/10 Page 17 of 17 PageID #: 16570
                                                                                           Page 1 of2


 From: Ori9in 10: BWCA (650) 655-5521                                     Ship Date: 24NOV09
  Julie Iverson                                                           ActW9t 1.0 LB
  So      'mputer Entertainment                                           CAD: 10007210lnNET9090
  91       .i!lsdale Blvd                                                 Account#: s -

  Foster City, CA 944.{)4
                                                      JIISlO1lS01J12023


 SHIP TO:    (903) 236-9800           BILL SENDER
                                                                             Ref#
  Capshaw DeRieux, L.L.P.                                                    Invoice #
                                                                             PO#
  D.Jeffrey Rambin                                                           Dept # 900
  1127 JUDSON RD STE 220

  LONGVIEW, TX 75601
                                                                                                                WED· 25NOV    A2
----------------------------~TRK#
                                                                          102011   793048763060                STANDARD OVERNIGHT
                                                                                                               ASR

                                                                                                                                   75601
                                                                                                                                  TX·US
                                                                          XXGGGA                                                  si-Iv




After printing this label:
1. Use the 'Print' button on this page to print your label to your laser or Inkjet printer.
2. Fold the printed page along the horizontal line.
3. Place label in shipping pouch and affix it to your shipment so that the barcode portion of the label can be read and scanned.

Warning: Use only the printed original label for shipping. Using a photocopy of this label for shipping purposes is fraudulent and could result in additional
billfng charges, along with the cancellation of your FedEx account number.

Use of this system constttutes your agreement to the s6lvice conditions in the current FedEx Service Guide, available on fedex.com.FedEx will not be responsible for any
claim in excess of $1 00 per package, whether the result of loss, damage, delay, non-delivery,misdelivery,or misinformation, unless you declare a higher value, pay an
additional charge, document your actual loss and file a timely claim. Limitations found in the current FedEx Service Guide apply. Your right to recover from FedEx for any loss,
including intrinsic valueofthe package, loss of sales, income interest, profit, attorney's fees, costs, and otherfonns of damage whether direct, incidental,conseqJential, or
special is limited to the greater of $1 00 or the authorized declared value. Recovery cannot exceed actua! documented loss.Maximum faT items of extraordinary value is $500,
e.g. jewelry, precious metals, negotiable instruments and other items listed in our ServiceGuide. Written claims must be filed within strict time limits, see current FedEx
Service Guide.




https:llwww.fedex.comlshipping/htmllenIPrintIFrame.html                                                                                                         1112412009
